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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:14-CR-00330 GEB
11
                                    Plaintiff,             SEALING ORDER
12
                             v.
13
     GUO NENG MA,
14
                                   Defendant.
15

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17           The United States has submitted for in camera consideration of an “Amended Request to Seal

18 Government’s Two-Page Sentencing Letter,” the Government’s Two-Page Sentencing Letter, and this

19 proposed sealing order which has been modified by the undersigned judge. The last line of the Two-

20 Page Sentencing Letter contains the following legal argument that should have been made in a filing on

21 the public docket: “The government believes that these considerations present a compelling interest for

22 maintaining this letter under seal, as provided by Oregonian Publishing Co. v. U.S. District Court, 920

23 F.2d 1462, 1466 (9th Cir. 1990).” As indicated in the Order filed March 3, 2016: “The trial court should

24 only seal that part of its findings that is necessary to protect the [subject] secrecy . . . and it must make

25 every effort to explain as much of its decision as possible on the public record to enable an interested

26 person to intelligently challenge the decision.” Wash. Post v. Robinson, 935 F.2d 282, 289 n.9 (D.C. Cir.
27 1991). That Order also indicated “All too often, parties to the litigation are either indifferent or

28 antipathetic to [this need]. This is to be expected: it is not their charge to represent the rights of others.”


       [PROPOSED] SEALING ORDER                            1
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              Case 2:14-cr-00330-TLN Document 67 Filed 03/07/16 Page 2 of 2

 1 Phx. Newspapers, Inc. v. U.S. Dist. Court for Dist. of Ariz., 156 F.3d 940, 951 (9th Cir. 1998).

 2          The proponent of a sealing order is expected to propose factual findings consistent with

 3 Oregonian, where it states: “The court must not base its decision on conclusory assertions alone, but

 4 must make specific factual findings.” 920 F.2d at 1466 (emphasis added). In the instant sealing request,

 5 the Government’s “Amended Request to Seal Government’s Two-Page Sentencing Letter” contains

 6 legal argument laced with factual assertions. However, the factual portion of this document combined

 7 with the Two-Page Sentencing Letter contains sufficient factual justification for the sealing order the

 8 Government seeks, and it is evident that the Government desires the referenced factual justifications to

 9 be filed under seal.

10          IT IS HEREBY ORDERED that the Amended Request to Seal Government’s Two-Page

11 Sentencing Letter and the Two-Page Sentencing Letter describing the Government’s sentencing

12 recommendation based on a downward departure under the United States Sentencing Commission’s

13 Guidelines are hereby SEALED until further order of this Court.

14          Dated: March 4, 2016

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      [PROPOSED] SEALING ORDER                          2
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